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                    12   X HOLDINGS CORP.; X CORP.; ELON MUSK
                    13   Additional counsel listed on following page
                    14

                    15                               UNITED STATES DISTRICT COURT

                    16                             NORTHERN DISTRICT OF CALIFORNIA

                    17

                    18   SARAH ANOKE, CATHERINE BONN,                  Case No. 3:23-cv-02217-SI
                         ISABELLE CANNELL, MELANIE EUSEBIO,
                    19   SAMANTHA FESTEJO, CARLOS MOISES               STIPULATION AND [PROPOSED]
                         ORTIZ GOMEZ, DAWN HOISE, WAYNE                ORDER REGARDING BRIEFING
                    20   KRUG, LAURENT LUCE, PATRICK                   SCHEDULE FOR NON-PARTY
                         O’CONNELL, JENNIFER RYAN, JAIME               INTERVENER JACOB SILVERMAN’S
                    21   SENA, JAMES SHOBE, KARYN                      MOTION TO INTERVENE AND
                         THOMPSON, AND CRISTIAN ZAPATA,                UNSEAL JUDICIAL RECORDS
                    22

                    23                         Petitioners,

                    24                 v.

                    25   TWITTER, INC., X HOLDINGS I, INC., X
                         HOLDINGS, CORP, X CORP, AND ELON
                    26   MUSK,
                                           Respondents.
                    27

                    28
MORGAN, LEWIS &
                                                                                       Case No. 3:23-cv-02217-SI
 BOCKIUS LLP                 STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR MOTION TO
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                INTERVENE AND UNSEAL JUDICIAL RECORDS
                             Case 3:23-cv-02217-SI Document 46 Filed 07/08/24 Page 2 of 5



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                     5
                         Counsel for Non-Party Intervenor
                     6   JACOB SILVERMAN

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                            Case No. 3:23-cv-02217-SI
 ATTORNEYS AT LAW                                                1
  SAN FRANCISCO
                             STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR MOTION TO
                                                INTERVENE AND UNSEAL JUDICIAL RECORDS
                             Case 3:23-cv-02217-SI Document 46 Filed 07/08/24 Page 3 of 5



                     1          Pursuant to N.D. Cal. Civ. L.R. 6-2 and 7-12, Respondents X Corp. as successor in

                     2   interest to Twitter, Inc., X Holdings Corp. as successor in interest to X Holdings I, Inc., and Elon

                     3   Musk (“Respondents”) and non-party putative intervener Jacob Silverman (“Silverman”), by and

                     4   through their undersigned counsel, stipulate as follows:

                     5          WHEREAS, on July 3, 2024, non-party putative intervener Jacob Silverman

                     6   (“Silverman”) filed a Motion to Intervene and Unseal Judicial Records (the “Motion”) (Dkt. 44);

                     7          WHEREAS, Respondents’ opposition deadline is currently July 17, 2024, Silverman’s

                     8   reply deadline is July 24, 2024, and the hearing date is August 16, 2024;

                     9          WHEREAS, in light of the intervening Fourth of July holiday and also Respondents and

                    10   Silverman’s respective schedules and previously scheduled periods of unavailability/out-of-

                    11   office, Respondents and Silverman, through their respective counsel, have met and conferred and

                    12   stipulated to an amended briefing schedule for the Motion;

                    13          WHEREAS, there are no other pending deadlines in this case that would be impacted by

                    14   the requested modification to the briefing schedule and hearing date;

                    15          WHEREAS, Respondents and Silverman stipulate and agree as follows:

                    16          1.      Respondents’ opposition to Silverman’s Motion shall be filed on or before July 26,

                    17                  2024.

                    18          2.      Silverman’s reply to Respondents’ opposition shall be filed on or before August 7,

                    19                  2024.

                    20          3.      The hearing on Silverman’s Motion shall be continued to Friday, September 20,

                    21                  2024, or a date as soon thereafter that is convenient for the Court.

                    22   IT IS SO STIPULATED AND AGREED.

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                           Case No. 3:23-cv-02217-SI
 ATTORNEYS AT LAW                                                         2
  SAN FRANCISCO
                             STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR MOTION TO
                                                INTERVENE AND UNSEAL JUDICIAL RECORDS
                             Case 3:23-cv-02217-SI Document 46 Filed 07/08/24 Page 4 of 5



                     1   Dated: July 3, 2024                     MORGAN, LEWIS & BOCKIUS LLP

                     2                                           By    /s/ Eric Meckley
                     3                                                Eric Meckley
                                                                      Kassia Stephenson
                     4
                                                                      Attorneys for Respondents
                     5                                                TWITTER, INC.; X HOLDINGS I, INC.;
                                                                      X HOLDINGS CORP.; X CORP.; ELON MUSK
                     6
                         Dated: July 3, 2024                     REPORTERS COMMITTEE FOR FREEDOM OF THE
                     7                                           PRESS

                     8                                           By    /s/ Katie Townsend
                                                                      Katie Townsend
                     9
                                                                      Attorneys for Non-Party Intervener
                    10                                                JACOB SILVERMAN
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                    12
                                                            L.R. 5-1(i)(3) Certification
                    13
                                Pursuant to Local Rule 5-1(i)(3), I attest that concurrence in the filing of the foregoing
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                         document has been obtained from each of the other Signatories.
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                                                                  /s/ Eric Meckley
                    16                                            Eric Meckley

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MORGAN, LEWIS &
 BOCKIUS LLP                                                                                           Case No. 3:23-cv-02217-SI
 ATTORNEYS AT LAW                                                         3
  SAN FRANCISCO
                             STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR MOTION TO
                                                INTERVENE AND UNSEAL JUDICIAL RECORDS
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                     1                                      [PROPOSED] ORDER

                     2          Pursuant to the Parties’ Stipulation and for GOOD CAUSE appearing, the Court hereby
                     3   orders the following briefing schedule for Jacob Silverman’s Motion to Intervene and Unseal
                     4
                         Judicial Records:
                     5

                     6          1.     Respondents’ opposition to Silverman’s Motion shall be filed on or before July 26,

                     7                 2024.

                     8          2.     Silverman’s reply to Respondents’ opposition shall be filed on or before August 7,

                     9                 2024.

                    10          3.                                                            August 23, 2024
                                       The hearing on Silverman’s Motion shall be set for ________________________,

                    11                 2024 at 10 am before this Court.

                    12   PURSUANT TO STIPULATION, IT IS SO ORDERED.

                    13
                                       July 8, 2024
                         Dated: _________________________                     _____________________________
                    14                                                        Hon. Susan Illston
                                                                              District Court Judge
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MORGAN, LEWIS &                                                           2
 BOCKIUS LLP
 ATTORNEYS AT LAW            STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING SCHEDULE FOR MOTION TO
  SAN FRANCISCO
                                                INTERVENE AND UNSEAL JUDICIAL RECORDS
